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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:16CR216

       vs.
                                                                           ORDER
THOMAS SNOWBALL,

                       Defendant.


       This matter is before the court on the defendant's motion for a 45-day extension of time
in which to file pretrial motions [82]. Upon review of the file, the court finds that a 30-day
extension should be granted.


       IT IS ORDERED that the MOTION FOR ENLARGEMENT OF TIME TO FILE
PRETRIAL MOTIONS [82] is granted, in part, as follows:
       1. The deadline for filing pretrial motions is extended to October 31, 2016.
       2. Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and NE.
Crim. R. 12.1 forthwith.
       3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice
will be served by granting this motion and outweigh the interests of the public and the defendant
in a speedy trial. Any additional time arising as a result of the granting of this motion, that is, the
time between September 30, 2016 and October 31, 2016, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that counsel
require additional time to adequately prepare the case, taking into consideration due diligence of
counsel and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).


       Dated this 3rd day of October, 2016.

                                                       BY THE COURT:
                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
